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 7                          UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
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11     Xavier Hermosillo, et al,      )                SACV 20-01387-JVS (ADSx)
                                      )
12                                    )                ORDER OF DISMISSAL UPON
                   Plaintiff,         )
13                                    )                SETTLEMENT OF CASE
             v.                       )
14                                    )
       Count of Orange, et al,        )
15                                    )
                   Defendant(s).      )
16                                    )
                                      )
17     ______________________________ )
18
19           The Court having been advised by the counsel for the parties that the above-
20     entitled action has been settled,
21           IT IS ORDERED that this action be and is hereby dismissed in its entirety
22     without prejudice to the right, upon good cause being shown within 75 days, to reopen
23     the action if settlement is not consummated.
24
25     DATED: October 18, 2021                             __________________________
                                                           James V. Selna
26                                                         U.S. District Judge
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